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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF OKLAHOMA

Shelly Callier                             )
                                           )
                  Plaintiff(s)             )
v.                                         )        CIV-23-594-G
                                           )
                                           )
                                           )
Pottawatomie County Public                 )
Safety Center Trust                        )
             Defendant(s)                  )

July 18, 2023
Enter Order:

In accordance with 28 U.S.C. §636, this matter is hereby referred to Magistrate Judge Gary
M. Purcell for preliminary review, for conducting any necessary hearings, including
evidentiary hearings, for the entry of appropriate orders as to non-dispositive matters, and
for the preparation and submission to the undersigned judge of Findings and
Recommendations as to dispositive matters referenced in 28 U.S.C. §§ 636(b)(1)(B), and
(C).

THE ABOVE ORDER ENTERED AT THE DIRECTION OF JUDGE CHARLES B.
GOODWIN


                                           CARMELITA REEDER SHINN, CLERK


                                           by: s/ R. Rosson
                                           Deputy Court Clerk




Revised 01/03/2022 kmt
